                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF TENNESSEE
                                                KNOXVILLE

  Case #: 3:17-CR-82                                          Date: January 29, 2018

                       United States of America   vs.   Randall Beane and Heather Tucci-Jarraf

  PROCEEDINGS: Jury Trial, Day 5.

      HONORABLE THOMAS A. VARLAN, CHIEF UNITED STATES DISTRICT JUDGE

  Julie Norwood                             Terri Grandchamp          Cynthia Davidson/Ann Marie Svolto
  Deputy Clerk                              Court Reporter                    Asst. U.S. Attorney

  Francis Lloyd
  Elbow Counsel for pro se Defendant Tucci-Jarraf

  Stephen McGrath
  Elbow Counsel for pro se for pro se Defendant Beane


  ■       Rule envoked
  ■       Witnesses sworn            ■       Exhibits admitted
  ■       Introduction of evidence for defendant       resumed
  ■       Case continued to Tuesday, January 29, 2018 at 9:00 a.m.   for further trial




  9:00 to 12:30
  1:45 to 5:40




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